               Case 3:18-cv-00123-SB       Document 26       Filed 09/11/18     Page 1 of 2



BETH CREIGHTON, OSB #972440
beth@civilrightpdx.com
LAURA KOISTINEN, OSB #175123
laura@civilrightspdx.com
CREIGHTON & ROSE, P.C.
300 Powers Building
65 S.W. Yamhill Street
Portland, Oregon 97204
Phone: (503) 221-1792
Fax:     (503) 223-1516

Of Attorneys for Plaintiff

                            IN THE UNITED STATES DISTRICT COURT

                                  FOR THE DISTRICT OF OREGON

                                        PORTLAND DIVISION

CYNTHIA E. RHOADES,                                                     Case No. 3:18−cv−00123−SB

                          Plaintiff,
                                                               DECLARATION OF COUNSEL
                   vs.                                 IN SUPPORT OF PLAINTIFF’S MOTION
                                                              FOR EXTENSION OF TIME TO
STATE OF OREGON DEPARTMENT OF                            RESPOND TO PARTIAL MOTION TO
JUSTICE,                                                                         DISMISS

                          Defendant.

          I, Laura Koistinen, declare as follows:

          1.       I am counsel for plaintiff in the above-referenced case.

          2.       Plaintiff moves for an order extending the current deadline to file a response in

opposition to Defendant’s Motion to Dismiss (Dkt. No. 23) by 7 days to September 21, 2018.

          3.       Lead counsel, Beth Creighton’s husband was recently diagnosed with stage 3 and

is starting an intense course of chemotherapy and radiation tomorrow.

          4.       Ms. Creighton has been out of the office frequently in the time since the service of

the motion to dismiss to care for her husband and attend doctor’s consultations and hospital

visits.




                                                                                  CRE IG H T O N   ATTORNEYS
                                                                                   &RO S E, P C    AT LAW

                                                                                                   65 SW Yamhill St. #300
                                                                                                   Portland, OR 97204
PAGE 1 – PLAINTIFF’S OPPOSED MOTION FOR EXTENSION OF                                               T. (503) 221-1792
                                                                                                   F. (503) 223-1516
         TIME TO RESPOND TO MOTION TO DISMISS                                                      laura@civilrightspdx.com
            Case 3:18-cv-00123-SB       Document 26        Filed 09/11/18     Page 2 of 2



       5.       Ms. Creighton had planned to draft the response to defendant’s motion to dismiss

but is no longer able to given the circumstances. She asked that I draft a response to the motion

to dismiss today.

       6.       To properly respond to defendant’s motion, I need an extra week to review the

case and case law.

       7.       I have conferred with defense counsel, who opposes this motion.

       8.       I hereby declare that the above statement is true to the best of my knowledge and

belief, and that I understand it is made for use as evidence in court and is subject to penalty for

perjury.



       DATED this 11th day of September, 2018.

                                                       CREIGHTON & ROSE,           PC

                                                        s/Laura Koistinen
                                                       LAURA KOISTINEN, OSB#175123
                                                       laura@civilrightspdx.com
                                                       Of Attorneys for Plaintiff




                                                                                CRE IG H T O N   ATTORNEYS
                                                                                 &RO S E, P C    AT LAW

                                                                                                 65 SW Yamhill St. #300
                                                                                                 Portland, OR 97204
PAGE 2 – PLAINTIFF’S OPPOSED MOTION FOR EXTENSION OF                                             T. (503) 221-1792
                                                                                                 F. (503) 223-1516
         TIME TO RESPOND TO MOTION TO DISMISS                                                    laura@civilrightspdx.com
